
ON CONFESSION OF ERROR
PER CURIAM.
Upon Ms guilty plea, the trial court adjudicated the defendant guilty of robbery with a firearm. Because the sentence included the three-year minimum mandatory provision required by section 775.087(2), Florida Statutes (1998), it was error, as the state concedes, for the guidelines scoresheet to include an 18 point addition for “possession of a firearm.” Section 921.0014, Florida Statutes (1993) specifically provides that the additional sentence points for carrying a firearm may be imposed only for felonies “other than those enumerated in s. 775.087(2).” Accordingly, the sentence is vacated and the cause remanded for resentencing upon a properly calculated scoresheet wMch shall not include the points in question.
